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                                                                    United States District Court
                                                                      Southern District of Texas

                                                                         ENTERED
                   IN THE UNITED STATES DISTRICT COURT                   May 22, 2020
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION
                                                                      David J. Bradley, Clerk




UNITED STATES OF AMERICA                 §
                                         §
v.                                       §    CRIMINAL NUMBER H-15-564 (26)
                                         §
RAMON DE LA CERDA                        §



                        MEMORANDUM OPINION AND ORDER

       Pending before the court are Ex Parte Motion for Clarification
Regarding April 2, 2020 Order ("Motion for Clarification") (Docket
Entry No. 1255) filed by William Sothern ("Sothern"), Response of
Greg Gladden       ("Gladden") to Ex-Parte Motion for Clarification

Regarding April 2, 2020 Order and Motion for Sanctions (Docket
Entry No. 1262), and Danalynn Recer's ("Recer") Motion to Strike
Greg Gladden's Motion for Sanctions (Docket Entry No. 1267).                   Also
before the court are the Ex Parte Sealed Response to Ex Parte
Motion for Clarification Regarding April 2, 2020 Order and Ex Parte
Motion for Substitute Counsel            ("Recer's Response to Sothern's
Motion for Clarification") (Docket Entry No. 1263), Brief of Amicus
Curiae Harris County Criminal Lawyers Association (Docket Entry
No.    1266),   Reply Regarding Ex Parte Motion for Clarification
Regarding April 2, 2020 Order (Docket Entry No. 1268) filed by
Sothern, Reply to Response of Greg Gladden to Ex-Parte Motion for
Clarification Regarding April 2, 2020 Order (Docket Entry No. 1269)
filed by Recer, multiple declarations and statements filed by Recer
(Docket Entry Nos. 1270, 1271, and 1272 and attachments thereto),
and Exhibits to Danalynn Recer's Motion to Strike Greg Gladden's
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Motion for Sanctions (Docket Entry No. 1274).              For the reasons
stated below Sothern's motion for clarification will be granted,
Gladden's motion for sanctions will be denied, Recer's motion to
strike will be denied as moot, Recer will be ordered not to file
any additional instruments in this case without first obtaining
leave of court, and the Clerk of the Court will be directed strike
any additional filings made in this case by Recer or on Recer's
behalf without leave of court.



                                 I. Background

        On September 25, 2019, the court entered a Memorandum and
Order (Docket Entry No. 1130) which, inter alia, terminated Recer's
appointment to represent defendant Ramon De la Cerda                 ( "De la

Cerda").     On April 2, 2020, the court entered Conclusions and Order
(Docket Entry No. 1235) which, in pertinent part, denied Recer's Ex
Parte    Sealed    Motion   to   Reconsider      Termination   or   Reinstate
Appointment of Capital Learned Counsel and Unopposed Motion for
Substitution      to   Relieve   CJA    Panel   Attorney   Gladden    of    His
Appointment (Docket Entry No. 1171), and granted Gladden's Motion
to Strike [Recer's] Notice of Appearance (Doc. # 1133) (Docket Entry
No. 1157).    The reasons for the court's rulings were summarized in
the Conclusions and Order (Docket Entry No. 1235), and stated at
length in a sealed Memorandum Opinion (Docket Entry No. 1236).
     Recer filed a Petition for Writ of Mandamus in the Fifth
Circuit Court of Appeals regarding the court's April 2,                2020,

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orders, seeking an order directing the court to withdraw its order

disqualifying her from representing De la Cerda, which the Fifth
Circuit denied on April 6, 2020. 1
        On May 15, 2020, the court entered an Order (Docket Entry
No. 1265) granting De la Cerda's Ex Parte Motion for Substitute
Counsel (Docket Entry No. 1256), removing CJA Panel Attorney Greg
Gladden as counsel and appointing, instead,            Attorney Bob Loper
("Loper").      Pursuant to the court's April 2, 2020, Conclusions and
Order       (Docket   Entry No.   1235),    and the   Order   (Docket Entry
No. 1256) appointing Bob Loper, William Sothern and Bob Loper serve
as sole defense counsel for Ramon De la Cerda in this case.



                  II. Sothern's Motion for Clarification

        On April 30,     2020,    Sothern filed the pending Motion for
Clarification stating:
     Undersigned counsel respectfully moves for clarification
     of this Court's April 2, 2020 order striking Attorney
     Danalynn Recer's appearance in this case and removing her
     as counsel of record. Rec. Doc. 1235. Attorney Recer
     has taken the position that this does not limit her
     ability to continue to represent Mr. de la Cerda with
     respect to the preparation and submission of materials to
     and conference with the Capital Case Committee of the
     Department of Justice, which will determine whether the
     Government is authorized to seek the death penalty in
     this case. Undersigned counsel seeks clarification to
     resolve this question.


      See In re Ramon de la Cerda, Fifth Circuit Case No. 20-20191,
        1

Docket Entry No. 14 (denying petition for writ of mandamus and
opposed motion to stay the district court's order that petitioner's
counsel must turn over his file over his objection).
                                      -3-
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          Undersigned counsel specifically requests that the
     Court consider this motion on an expedited basis. Given
     the September 14, 2020 Department of Justice conference
     date and the history of difficulties relating to the
     counsel issues in this case, it is critical that counsel
     for Mr. de la Cerda be able to move forward with
     preparations deliberately and without delay. However,
     the continued ambiguity concerning the roles of various
     counsel involved in this case constrains progress on
     investigation, record collection, budgeting, and other
     necessities. Indeed, the Circuit Budgeting Attorney at
     the Fifth Circuit has suggested that this counsel issue
     should be resolved prior to developing a budget going
     forward.
          Wherefore, undersigned counsel respectfully requests
     clarification concerning the Court's April 2, 2020 order
     and, in particular, whether Attorney Recer may continue
     to represent Mr. de la Cerda in capacities other than as
     counsel of record in these proceedings, including with
     respect to the Capital Case Committee, notwithstanding
     this Court's April 2, 2020 order.2

     Asserting that "the court must not become involved in the DOJ
process," 3 Recer responds that "[w]hether or not to seek the death
penalty is wholly a matter of prosecutorial discretion.            Both the
process itself and the outcome are typically found to be beyond the
reach of the judiciary." 4

     2
      Motion for Clarification, Docket Entry No. 1255, pp. 1 and 4
(emphasis in original).
     3
      Recer's Response to Sothern's Motion for Clarification,
Docket Entry o. 1263, p. 6 (heading between 1115 and 16). Gladden
has also filed a response, see Response of Greg Gladden to Ex-Parte
Motion for Clarification Regarding April 2, 2020 Order and Motion
for Sanctions, Docket Entry No. 1262, but since Gladden no longer
represents de la Cerda, his response is moot.
     4
      Id. at 6-7 1 16. See also id. at 3-4 1 5 (Recer argues that
"the DOJ Capital Case Review process is a confidential, non­
judicial, administrative proceeding conducted by an executive
branch agency not subject to the Court's supervisory powers. The
                                                   (continued...)
                                   -4-
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Attached to Recer's response is a Legal Services Agreement signed
by her and by De la Cerda on April 6, 2020, but                  "effective
beginning April 2, 2020," for "legal services" including inter alia
      [p]reparation and presentation of a submission to the
     United States Department of Justice's Capital Case Review
     Committee pursuant to their Capital Case Protocol, in
     opposition of an authorization for the government to seek
     the death penalty.    This is an extra-judicial process
     that may include ongoing discussions with counsel for the
     government regarding the production of information
     relevant to the authorization process, as well as
     negotiation with counsel for the government regarding a
     proposed settlement to be proffered to the Capital Case
     Review Committee. 5

The Legal Services Agreement also states that
     Mr. de la Cerda understands that Ms. Recer does not
     represent him in the federal district court for the
     Southern District of Texas and that the services to be
     provided will not include defending him in judicial
     proceedings in the matter of U.S. v. Ramon de la Cerda,
     4:15-cr-00564-26 before that Court.6
Citing inter alia United States v. Cox, 342 F.2d 167, 171 (5th Cir.
1965), for its statement that "as an incident of the constitutional
separation of powers,         . the courts are not to interfere with
the free exercise of the discretionary powers of the attorneys of




       •••continued)
     4(

Court plays no role in that administrative process. Indeed, there
is a bright line of separation between the powers of the government
to exercise discretion in criminal prosecutions and the Court's
judicial powers to preside over them."
     5
         Legal Services Agreement, Docket Entry No. 1263-1,       1   3.B.
     6
         Id.   1 4.
                                   -5-
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the United States in their control over criminal prosecutions," 7
Recer argues that "t]his Court should take no position as to Mr. de
la     Cerda's     representation     in     the   internal    administrative
proceedings of the executive branch." 8
       Sothern replies that

       it is abundantly clear - just as it was prior to the
       Court's April 2, 2020 order - that Mr. de la Cerda would
       like Attorney Recer to continue to represent him in
       whatever capacity that the Court will tolerate.
       [U]ndersigned counsel and Attorney Recer will not be able
       to work together to effectively represent Mr. de la Cerda
       in this case.
            Undersigned counsel has been consistent on this . .
         [last] point with the Court for the many months in
       which the litigation on the counsel issues in this case
       have been litigated.
                    [U]ndersigned counsel takes no position
       concerning the correct resolution of the matter after
       conferring with Mr. de la Cerda. This is consistent with
       the undersigned counsel's February 5, 2020, Notice
       regarding Counsel Issues, in which he similarly
       explained, "[i]n response, undersigned counsel submits
       this notice to inform the Court that, at this time, after
       conferring with Mr. de la Cerda       . and based on his
       direction, undersigned counsel will not submit any
       additional pleadings relating to the counsel issue
       presently before the Court."           Rec. Doc. 1211.
       Undersigned counsel's maintenance of this position is
       essential to the viability of his attorney client
       relationship with Mr. de la Cerda. 9



      Recer's Response to Sothern's Motion for
       7
                                                               Clarification,
Docket Entry No. 1263, p. 4 n. 1.
       8
           Id. at 20   1 65.
      Reply Regarding Ex Parte Motion for Clarification Regarding
       9

April 2, 2020 Order, Docket Entry No. 1268, pp. 2-3 (emphasis in
original).
                                       -6-
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A.     Applicable Law

       De   la    Cerda   stands   indicted   for    crimes   for   which      the
statutorily authorized punishment includes the death penalty. The
Government must file a notice of its election to seek or not to
seek the death penalty "a reasonable time before the trial."                   18
U.S.C. § 3593(a).         The decision whether to seek the death penalty

is a matter of prosecutorial discretion. See McClesky v. Kemp, 107
S. Ct. 1756, 1777 (1987) ("the capacity of prosecutorial discretion
to provide individualized justice is 'firmly entrenched in American

law'") (citations omitted).           "The decision whether to seek the
death penalty is made by the Attorney General, but only after
considering the recommendations of the local U.S. attorney and an
advisory committee within the Department of Justice ('DOJ')."                  In
re Sterling-Suarez, 306 F.3d 1170, 1172 (1st Cir. 2002).              See also
Justice Manual Title 9-10.000 et seq. ("Capital Crimes"); id. at
Title 9-10.050 ("Except as otherwise provided herein                    ., the
Attorney General will make the final decision whether to seek the
death penalty."), and Title 9-10.130 ("The Attorney General will
make the final decision whether the Government should file a notice
of intent to seek the death penalty.").
       The DOJ's internal protocol for deciding whether to seek the
death penalty in any particular case provides for the United States
Attorney for the district in which the indictment is pending to
submit      a    "[p] rosecution   memorandum"      that   includes    both     a
recommendation "on whether the death penalty should be sought," and
"materials provided by defense counsel."             Id. at Title 9-10.080.

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See also id. ("The United States Attorney or Assistant Attorney

General     shall    give   counsel   for   the   defendant      a   reasonable
opportunity to present information for the consideration of the
United States Attorney or Assistant Attorney General which may bear
on the decision whether to seek the death penalty."); id. at Title
9-10.130 ("No final decision to seek the death penalty shall be

made if defense counsel has not been afforded an opportunity to

present evidence and argument in mitigation."). The DOJ procedure
also recognizes the possibility for "proposed plea agreements that
precede a decision by the Attorney General to seek or not to seek
the death penalty."         Id. at Title 9-10.120         ("Conditional Plea

Agreements").       "The Capital Review Committee will review requests
for authorization to enter into a plea agreement under this
subsection and,       if a submission from defense counsel is not
included with the submission, may request such a submission and
schedule the case for a Committee conference."             Id.
      The opportunities that the Justice Manual provide to defense
counsel to submit information and materials for consideration
during the DOJ' s internal deliberations on whether to seek the
death penalty and whether to pursue a plea agreement do not create
legal rights that can be enforced by a defendant or overseen by the
court.      See Id. at Title 1-1.200 ("The Justice Manual provides
internal DOJ guidance.        It is not intended to, does not, and may
not be relied upon to create any rights, substantive or procedural,
enforceable at law by any party in any matter civil or criminal.
Nor   are    any    limitations   hereby    placed   on   otherwise     lawful

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litigation prerogatives of DOJ.").              See also United States v.
Cooks, 589 F.3d 173, 184 (5th Cir. 2009), cert. denied, 130 S. Ct.
1930 (2010) (recognizing that "[t]he [Justice Manual] itself makes
plain that it 'provides only internal [DOJ] guidance [and] is not
intended to, does not, and may not be relied upon[,] to create any
rights.'") (quoting United States v. Fernandez, 231 F.3d 1240, 1246
(9th Cir. 2000)).

     The appointment of counsel in capital cases is governed by 18
U.S.C.§§   3005, 3006A, and 3599. See 7A Guide to Judiciary Policy,

Appx. 2A, XIV.A.     See also United States District Court for the

Southern District of Texas, Criminal Justice Act Plan Amended 2018,
XIV.A (same).   In pertinent part§       3005 states that
     [w]hoever is indicted for .     [a] capital crime shall
     be allowed to make his full defense by counsel; and the
     court before which the defendant is to be tried, or a
     judge thereof, shall promptly, upon the defendant's
     request, assign 2 such counsel, of whom at least 1 shall
     be learned in the law applicable to capital cases, . . .
18 U.S.C.§   3005.   Section 3006A states that
     [a] person for whom counsel is appointed shall be
     represented at every stage of the proceedings from his
     initial appearance before the United States magistrate
     judge or the court through appeal, including ancillary
     matters appropriate to the proceedings.    . The court
     may, in the interests of justice, substitute one
     appointed counsel for another at any stage of the
     proceedings.
18 U.S.C.§   3006A(c).    Section 3599(e) states, "[u]nless replaced
by similarly qualified counsel .                each attorney so appointed
shall represent the defendant throughout every subsequent stage of
available judicial proceedings,            II
                                                 18 u.s.c.§   3599(e).



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B.      Application of the Law to the Facts

        In his Motion for Clarification Sothern states that during a
conference call with Recer and her attorney aimed at affecting "as
smooth of a transition of counsel as possible," 10
        Attorney Recer made clear that she is continuing to
        represent Mr. de la Cerda and intends to represent him
        with respect to the Capital Case Committee. Through the
        course of this discussion, Attorney Recer made clear that
        she was still preparing to submit a memorandum on Mr. de
        la Cerda's behalf to the Capital Case Committee and to
        appear as counsel at the conference with the Capital Case
        Committee, that she and her agents were continuing to
        interview witnesses in preparation for the conference,
        that she and her agents were continuing to gather
        materials and add to the file, and that she and her
        agents were continuing to have legal visits with Mr. de
        la Cerda.    When undersigned counsel noted that these
        legal activities performed on Mr. de la Cerda's behalf
        were likely inconsistent with this Court's April 2, 2020
        order removing Attorney Recer as counsel in this case,
        Attorney Recer indicated that her activities and work
        with respect to the Capital Case Committee were "non­
        judicial" and therefore beyond the Court's province.
             When undersigned counsel noted that Attorney Recer's
        continued   activity   on   the   case    and   purported
        representation of Mr. de la Cerda would hobble
        undersigned counsel's independent ability to work
        effectively to represent Mr. de la Cerda or to recruit
        and direct a team to develop mitigating evidence
        necessary for the Capital Case Committee presentation or
        for trial in the event that the case was authorized as a
        capital case, undersigned counsel was informed by
        Attorney Recer that she had already developed "the plan"
        for the Capital Case Committee and that (1) if she is
        either not permitted to implement "the plan" as Mr. de la
        Cerda's lawyer or (2) if undersigned counsel pursued an
        alternative plan, that Mr. de la Cerda would waive his
        right to counsel. Based on that position, Attorney Recer
        stated that it was not necessary for undersigned counsel
        to recruit a team of service providers to assist in the
        representation.11


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            0
                Motion for Clarification, Docket Entry No. 155, pp. 2-3.
        11      Id. at 3-4.   Recer contends that "Mr. Sothern misunderstands
                                                               (continued...)
                                          -10-
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     Asserting that "[t]he authorization process is, in the capital

context, a plea negotiation," 12 and citing Federal Rule of Criminal
Procedure     ll(c) (1)         for   stating    that   "[a]n   attorney    for   the
government and the defendant's attorney                 . . may discuss and reach
a plea agreement. . . [but that t]he Court must not participate in

these discussions," 13 Recer argues that "[t]o involve itself in

choosing the agent who will speak for Mr. de la Cerda in this
process would be to participate in the negotiations." 14                   Asserting
that it is not "uncommon for the DOJ presentation to be made by a
lawyer who will not appear at trial," 15 Recer argues that she

     has prepared the written presentations and made the oral
     presentations in several cases where she was not counsel
     of record, including cases in the Southern District. In
     one instance, United States v. Nuncio, from the Southern
     District of Texas, learned counsel delegated his role in
     the authorization process to undersigned. Undersigned,

       ( ••• continued)
     11

Mr. de la Cerda's position to some extent.       He indicates that
Mr. de la Cerda would 'waive his right to counsel' if undersigned
'is not permitted to implement the plan as Mr. de la Cerda's
lawyer' and appointed counsel are unwilling to adopt the same
agreements already made with undersigned. Doc. 1255 at 3-4. What
undersigned described in the conference call and what Mr. de la
Cerda has said in writing, is that he will waive appointed counsel
for the authorization stage if that is the only way to ensure that
his decisions regarding 'the object of the litigation' are honored.
Waiving court-funded counsel is not waiving all counsel." Recer's
Response to Sothern's Motion for Clarification, Docket Entry
No. 1263, p. 5 1 9 (emphasis in original).
      Recer's Response to Sothern's Motion for Clarification,
     12

Docket Entry No. 1263, p. 13 1 39.


     14
          Id. at 14   1   40.
     15
          Id. at 13   1 36.
                                          -11-
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     together with the appointed CJA Panel attorney, [] met
     with the Committee in D.C. alongside [and] in lieu of
     learned counsel.   The government has never had any
     objection.16
     Recer has not cited any authority in support of her contention
that an attorney who has been disqualified from representing a
defendant in a criminal case may,            nevertheless,     continue to

represent that defendant in plea negotiations with the government.
Nor has Recer cited any authority supporting her contention that a
court violates Federal Rule of Criminal Procedure ll's prohibition
against participating in plea discussions by "choosing the agent
who will speak for [the defendant]         in this process." 17      To the
contrary, courts have "sole and exclusive jurisdiction over matters
related to the appointment and dismissal of counsel."                 United
States v. Stewart, Criminal Action No. 11-107, 2012 WL 5289375, * 1
(E.D. La. October 23, 2012) (citing 18 U.S.C.        §   3006A, and 3591 et

�).         Moreover, "the [c]ourt has broad discretion to determine
whether [d]efendants may retain additional counsel, and the [c]ourt
may make this determination sua sponte."        Id. See Martel v. Clair,
132 S. Ct. 1276 (2012); United States v. Gonzalez-Lopez, 126 S. Ct.
2557, 2565-66 (2008). 18



      Id. at 13 1 36 (citing Letter of Chuck Lanehart and Affidavit
     16

of Richard L. Wardroup, Exhibits 2 and 3 to Recer's Response to
Sothern's Motion for Clarification, Docket Entry Nos. 1263-2 and
1263-3).
     17
          Id. at 14   1 40.
     18
          See also Memorandum Opinion, Docket Entry No. 1054.
                                   -12-
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      As Recer acknowledges, courts have a "duty to provide counsel
in the authorization process to indigent defendants who request
it," 19     that   "[i] t   is    not    standard   for   the    defendant    to   be
represented by different counsel in the administrative proceeding
and at trial," 20 and that "[t]he authorization process is, in the

capital context, a plea negotiation [subject to Federal Rule of

Criminal Procedure 11] ." 21            While Rule 11 prohibits the sentencing

court from         participating in plea negotiations, Rule 11 allows a
district court to accept or reject a plea agreement.                 United States
v. Pena, 720 F.3d 561, 570 (5th Cir. 2013) (citing Fed. R. Crim.
Proc. 11 (c)( 4 ) - (5)).
      Rule 11 also requires that the district court "address
      the defendant personally in open court and determine that
      the plea is voluntary and did not result from force,
      threats, or promises (other than promises in a plea
      agreement)," and "determine that there is a factual basis
      for the plea."
Id. (quoting Fed. R. Crim. Proc. ll(b)(2) and (b) (3)).                      Recer's
description of her role in the Nuncio case where "learned counsel
delegated his role in the authorization process to [her]," is
vastly different from this case where (1) learned counsel has
repeatedly stated that he cannot work with Recer and has filed the
pending      Motion     for      Clarification      because     Recer's   continued


      Recer's Response to Sothern's Motion for Clarification,
      19

Docket Entry No. 1263, p. 10 1 26.
      20
           rd. at 12-13     1 36.
      21
           rd. at 13   1 39.
                                           -13-
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involvement in this case is hobbling his independent ability to
effectively represent De la Cerda, (2) the court has relieved Recer
of her representation and denied her motions for reconsideration,
reinstatement, and substitution, and (3) the Fifth Circuit has
denied her request for an order directing the court to withdraw its
order disqualifying her from representing De la Cerda.
     The authorities Recer cites in support of her argument that
"[t)his court should take no position as to Mr. de la Cerda's
representation in the internal administrative proceedings of the
executive branch" 22 are inapposite because they involved efforts of

courts to use their inherent authority to interfere with a United
States     attorney's     free    exercise    of    the   executive   branch's
discretionary powers to prosecute criminal cases.               See Cox, 342
F.2d at 171 (holding that the district court could not order the
United States attorney to act upon a true bill returned by a grand
jury).     While courts cannot interfere with the free exercise of the
discretionary powers of United States attorneys, the court - not
the United States attorneys - has exclusive authority over matters

related to the appointment and dismissal of defense counsel.
Pursuant to the court's September 25, 2019, Memorandum and Order
(Docket Entry No.        1130) which,     inter alia,     terminated Recer's
appointment to represent De la Cerda,               and the April 2,     2020,
Conclusions     and    Order     and   Memorandum    Opinion   (Docket   Entry


     22
          Id. at 20   1 65.
                                       -14-
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Nos. 1235 and 1236)      which,     in pertinent part,     denied Recer's
motions to reconsider,       reinstate,     and substitute,    and granted
Gladden's motion to strike the notice of appearance that Recer
filed following the court's termination of her appointment, and the
Fifth Circuit's denial of Recer's application for writ of mandamus,

Recer is disqualified from representing or providing legal services
to De la Cerda in any capacity having to do with charges filed
against him in this action. Pursuant to the court's April 2, 2020,
Conclusions    and   Order   and    Memorandum   Opinion     (Docket   Entry
Nos. 1235 and 1236) and the court's May 15, 2020, Order (Docket
Entry No. 1265)      granting De la Cerda's motion for substitute
counsel   (Docket Entry No.        1256),   and replacing Attorney Greg
Gladden with Bob Loper, Attorneys William Sothern and Bob Loper
serve as sole defense counsel for defendant Ramon De la Cerda for
all matters having to do with charges filed against him in this
action, including all ancillary matters appropriate to the judicial
proceedings.



III. Gladden's Motion for Sanctions and Recer's Motion to Strike

     Asserting that "Ms. Recer's misconduct as found in the court
filings of April 2, 2020 (docket no.'s 1235 and 1236) along with
her continued contemptuous conduct           constitutes bad     faith and




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disbarment is appropriate," 23 Gladden "moves the court to enforce
it's Conclusions and Order of April 2, 2020 with appropriate .
sanctions, and direct the clerk to remove Recer's name from the
list of attorneys authorized to practice law in the United States
District Court for the Southern District of Texas. " 24                Recer

responds that "[t]his Court should strike Mr. Gladden's motion for
sanctions and disbarment because it does not comply with the
procedures for disbarment and because it contains improper and
unethical attacks on Ms. Recer." 25
     Charges of misconduct warranting attorney discipline are
governed by Rule 5 of the Rules of Discipline for the United States
District Court for the Southern District of Texas.         Rule 5.A states
that "[c]harges that any lawyer of this bar has engaged in conduct

which might warrant disciplinary action shall be brought to the
attention of the court by writing addressed to the chief judge with
a copy to the clerk of court."            Rules of Discipline, Southern
District of Texas Local Rules of Procedure, Appendix A, Rule 5.A.
The chief judge makes an initial determination of frivolousness,
and non-frivolous charges are randomly assigned to a district judge



      Response of Greg Gladden to Ex-Parte Motion for Clarification
     23

Regarding April 2, 2020 Order and Motion for Sanctions, Docket
Entry No. 1262, p. 2.
     24Id.


      Danalynn Recer's Motion to Strike Greg Gladden's Motion for
     25

Sanctions, Docket Entry No. 1267, p. 1.
                                   -16-
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for review.    This court, therefore, lacks authority to grant the
relief sought in Gladden's motion for sanctions.               Because this
court lacks authority to grant the relief sought, Gladden's motion
for sanctions     will be denied,       and Recer's motion to strike
Gladden's motion for sanctions will be denied as moot.



               IV. Recer Must Obtain Leave of Court
      Before Filing Any Additional Instruments in this Case

     By order entered on September 25, 2019, the court terminated
Recer's   appointment    to   represent    De    la   Cerda   (Docket   Entry
No. 1130).     By order entered on April 2,            2020   (Docket Entry
No. 1235), the court struck Recer's notice of appearance and denied
her motions for reconsideration, reinstatement, and substitution
for reasons stated in a Memorandum Opinion (Docket Entry No. 1236).
On April 6, 2020, the Fifth Circuit denied Recer's application for
an order directing the court to withdraw its order disqualifying
her from representing De la Cerda. 26           Despite being disqualified
from representing De la Cerda in this case, Recer continues to file
instruments "with the knowledge and consent of Defendant Ramon De
la Cerda, " 27 and argues to the court and to others that she


      See In re Ramon de la Cerda, Fifth Circuit Case No. 20-20191,
     26

Docket Entry No. 14 (denying petition for writ of mandamus and
opposed motion to stay the district court's order that petitioner's
counsel must turn over his file over his objection).
      Recer's Response to Sothern's Motion for Clarification,
     27

Docket Entry No. 1263, p. 1; Danalynn Recer's Motion to Strike Greg
                                                     (continued...)
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continues to represent De la Cerda in plea and other discussions

with the government regarding the charges brought against him in
this         case.      Since     Sothern    filed    the       pending   Motion       for
Clarification, and Gladden responded with his Motion for Sanctions,
Recer has filed 28 instruments totaling 124 pages detailed in the

following table:

        Docket          Date                       Instrument                  # of
        Entry#                                                                 Pages
 1     1263          05-08-2020   Ex Parte Sealed Response to Ex Parte             20
                                  Motion for Clarification Regarding April
                                  2, 2020 Order and Ex Parte Motion for
                                  Substitute Counsel
 2     1263-1        05-08-2020   Exhibit 1 Legal Services Agreement               1
 3     1263-2        05-08-2020   Exhibit 2 Letter of Chuck Lanehart               4

 4     1263-3        05-08-2020   Exhibit 3 Affidavit of Richard L. Wardroup       2
 5     1267          05-15-2020   Danalynn Recer's Motion to Strike Greg           8
                                  Gladden's Motion for Sanctions*
 6     1269          05-15-2020   Reply to Response of Gregg Gladden to Ex-        4
                                  Parte Motion for Clarification Regarding
                                  April 2, 2020 Order
 7     1270          05-15-2020   Reply to Response of Gregg Gladden to Ex-
                                  Parte Motion for Clarification Regarding
                                  April 2, 2020 Order
 8     1270-1        05-15-2020   Declaration of Robert C. Owen                    4

 9     1270-2        05-15-2020   Statement of Andre De Gruy                       1
 10    1270-3        05-15-2020   Unsworn Declaration of Attorney Bobby D.         7
                                  Mims



       ( ••• continued)
        27

Gladden's Motion for Sanctions, Docket Entry No. 1267, p. l; Reply
to Response of Greg Gladden to Ex-Parte Motion for Clarification Regarding April
2, 2020 Order, Docket Entry No. 1269, p. 1.    Although in Docket 1269, at
p. 2 1 7, Recer states that "[t]he Motion for Sanctions has been
addressed by undersigned counsel's attorney, David George, in a
separately filed Motion to Strike Motion for Sanctions, Doc. 1267,"
Docket Entry 1267 is signed first by Recer and second by George.

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      Docket          Date                     Instrument                    # of
      Entry#                                                                Pages
 11   1270-4     05-15-2020   Declaration of John E. Wright                   2

12    1270-5     05-15-2020   Declaration of William Boggs                    3

13    1270-6     05-15-2020   Statement of David M. Lipka                     2

 14   1270-7     05-15-2020   Letter of Jerilyn L. Bell                       2

15    1270-8     05-15-2020   Declaration of Raoul D. Schonemann              5

16    1270-9     05-15-2020   Declaration of Thea Jane Posel                  5

17    1270-10    05-15-2020   Letter of Elizabeth Vartkessian, Ph.D.          2

18    1271       05-15-2020   Declaration of Kirsty Louise Davis              3

19    1271-1     05-15-2020   Declaration of Mary Gollin                      4

20    1271-2     05-15-2020   Statement of Patrick Mccann                     1

21    1271-3     05-15-2020   Declaration of Monica Hefti                     11

22    1271-4     05-15-2020   Declaration of Shannon Wight                    1

23    1271-5     05-15-2020   Declaration of Philip Wischkaemper              2

24    1272       05-17-2020   Missing Exhibit For Reply to Response of        1
                              Greg Gladden to Ex-Parte Motion for
                              Clarification Regarding April 2, 2020
                              Order
25    1272-1     05-17-2020   Declaration of Mary Gollin                      4

26    1274       05-18-2020   Exhibits to Danalynn Recer's Motion to          2
                              Strike Gleg Gladden's Motion for Sanctions
27    1274-1     05-18-2020   Exhibit A    Declaration of Professor Elvia     14
                              R. Arriola
28    1274-2     05-18-2020   Exhibit B - Declaration of James W. Craig       5

      Total                                                                  124



      The vast majority of the instruments that Recer filed in the
10-day period from May 8 to 18, 2020, are not responsive to pending
motions.       Instead, Recer states that "[t]o address doubts that the
Court may have regarding the work of this team and the capacity of
undersigned      in    particular,    undersigned     provides     the    attached
statements from current and former teammates,                    co-workers and

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colleagues. " 28 Because Recer persists in filing instruments in this

case "with the knowledge and consent of Defendant Ramon De la
Cerda," that are not only irrelevant, but also intended to benefit
herself as well as De la Cerda - whom she no longer represents, and
because Recer' s history of filing of irrelevant and voluminous

instruments that needlessly drain scarce judicial resources was one
of the reasons that prompted the court to disqualify her from

representing De la Cerda in this case, Recer will be ordered not to
file any additional instruments, including ex parte instruments,

without first disclosing the proposed filing to De la Cerda' s
defense counsel and determining if De la Cerda's defense counsel
oppose the proposed filing, and then filing a motion for leave of
court to make the proposed filing stating in the caption whether
the proposed filing is opposed or unopposed by De la Cerda' s
defense counsel.     The Clerk of the Court will be directed (1) to
strike any instruments filed by - or on behalf of - Danalynn Recer
that are not accompanied by a motion for leave of court to file,
and (2) to cite this Memorandum Opinion and Order in support of the
strike.




      Reply to Response of Greg Gladden to Ex-Parte Motion for
     28

Clarification Regarding April 2, 2020 Order, Docket Entry No. 1269,
p. 3 1 10.
                                   -20-
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                        V. Conclusions and Order

     For the reasons stated in§ II, above, the court clarifies its
April 2, 2020, Conclusions and Order and Memorandum Opinion (Docket

Entry Nos. 1235 and 1236) by CONCLUDING and ORDERING that Attorney

Danalynn Recer is disqualified from representing or providing legal

services to Defendant Ramon De la Cerda in any capacity having to
do with charges filed against him in this action including all
ancillary   matters     appropriate    to   the    judicial   proceedings.
Pursuant to the court's April 2, 2020, Conclusions and Order and
Memorandum Opinion, and the court's May 15, 2020, Order (Docket
Entry No.   1265) granting De la Cerda's Ex             Parte Motion for
Substitute Counsel (Docket Entry No. 1256), replacing Attorney Greg
Gladden with Attorney Bob Loper, Attorneys William Sothern and Bob
Loper serve as sole defense counsel for De la Cerda for all matters
having to do with charges filed against him in this action,
including   all    ancillary   matters    appropriate    to   the   judicial
proceedings.      Accordingly, the Ex Parte Motion for Clarification
Regarding April 2, 2020, Order, Docket Entry No. 1255, filed by

William Sothern, is GRANTED.

     For the reasons stated in§ III, above, Greg Gladden's Motion

for Sanctions, Docket Entry No.          1262,   is DENIED,   and Danalynn

Recer's Motion to Strike Greg Gladden's Motion for Sanctions,
Docket Entry No. 1267, is DENIED as MOOT.



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     For the reasons stated in         §   IV,   above,   Danalynn Recer is

ORDERED not to file any additional instruments, including ex parte

instruments, in this case without first disclosing any instrument
that she seeks to file to De la Cerda's defense counsel and
determining if De la Cerda's defense counsel oppose the filing, and

then filing a motion for leave of court to file the instrument
stating in the caption whether the filing is opposed or unopposed
by De la Cerda's defense counsel.            The Clerk of the Court is

DIRECTED (1) to strike any instruments filed by - or on behalf of

- Danalynn Recer that are not accompanied by a motion for leave of
court to file, and (2) to cite this Memorandum Opinion and Order in

support of the strike.

     SIGNED at Houston, Texas, on this the 22nd day of May, 2020.




                                                 SIM LAKE
                                   SENIOR UNITED STATES DISTRICT JUDGE




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